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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


   UNITED STATES OF AMERICA

   v.                                               Case No. 8:15-cr-101-T-30TGW

   JOHNSON CHERUBIN



                       PRELIMINARY ORDER OF FORFEITURE

          THIS CAUSE comes before the Court upon the United States of America's

   Motion for a Preliminary Order of Forfeiture (Doc. 118) for $53,369.15 in United

   States currency, which is the total amount seized from all conspirators on March

   8, 2015.

          Being fully advised of the relevant facts, the Court hereby finds that the

   currency identified above constitutes proceeds of the drug conspiracy to which the

   defendant pled guilty.

          Accordingly, it is hereby:

          ORDERED, ADJUDGED, and DECREED that for good cause shown, the

   United States= motion (Doc. 118) is GRANTED.

          It is FURTHER ORDERED that, pursuant to 21 U.S.C. § 853 and Rule

   32.2(b)(2) of the Federal Rules of Criminal Procedure, the currency identified

   above is hereby forfeited to the United States for disposition according to law.

          It is FURTHER ORDERED that, upon entry of this order, it shall become a

   final order of forfeiture as to the defendant.
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            The Court retains jurisdiction to address any third party claim that may be

   asserted in these proceedings, and to enter any further order necessary for the

   forfeiture and disposition of such property.

            DONE and ORDERED in Tampa, Florida, this 4th day of September, 2015.




   Copies furnished to:
   Counsel/Parties of Record
   F:\Docs\2015\15-cr-101 Cherubin POF 118.docx




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